 

CaSe 2215-Cr-20652-GCS-DRG ECF NO.1168 filed 08/28/18 Page|D.15268 F’agje§l'l'§l

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DlVlSlON
UNITED STATES OF AMERICA NO. 15-20652
v. HON. GEORGE CARAM S'l`EEl-I
D-l3 ARLANDIS SHY
FILED USDC - CLEK DET
/ 2013 F\UG 23 F¢M 1032

VERDICT FORM

COUNT ONE: RICO Conspiracy

With respect to the RICO eonspiracy Charge in Count One, We, the jury,

unanimously lind:

ARLANDIS SHY Not Guilty Guilty \/

With respect to Count One, if you find ARLANDIS SHY not guilty of
RICO Conspiracy, please skip to Page 3, there is no need to answer the three
questions listed on the next page. If you find ARLANDIS SHY guilty of RICO
Conspiracy in Count One, please answer the three questions listed on the next
page, then proceed to Page 3. Your verdict must be unanimous that the
government has proven the proposition set forth in the questions below

beyond a reasonable doubt:

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l. Did defendant ARLANDIS SHY, between July 14, 2014 through September
26, 2015, conspire with another conspirator to assault rival gang members with

intent to commit murder?

No Yes \l

2. Did defendant ARLANDIS SHY commit or cause to be committed, or aid and
abet in the commission of, the first degree murder of Dvante Roberts on or

about May 8, 2015?

No j Yes

3. Did defendant ARLANDIS SHY commit or cause to be Committed, or aid and
abet in the commission of, the attempted murder (assault with intent to
murder) of Marquis Wicker, Darrio Roberts, or]esse Ritchie on or about May

8, 2015?

No \/ Yes

 

 

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COUNT SIXTEEN: Murder of Dvante Roberts in Aid of
Racketeering

\X/ith respect to the charge of murder of Dvante Roberts in aid of racketeering

on or about l\/lay 8, 2015, we, the jury, unanimously lind:

ARLANDIS sHY Not ounty J ounry ____

COUNT SEVENTEEN: Use and Carry of a Firearm During and in
Relation to a Crime of Violence Causing Death

\X/ith respect to the charge of use of a firearm during and in relation to a crime
of violence causing death, namely the l\/[ay 8, 2015, murder of Dvante Roberts in aid

of racketeering in Count Si:)<teenJ wc, the jury, unanimously find:

 

ARLANDIS SHY Not Guilty ~/ Guilry
COUNT EIGHTEEN: Attempted Murder of Marquis Wicker in Aid of
Racketeering

With respect to the Charge of attempted murder of Marquis Wicker in aid of

racketeering on or about May 8, 2015, we, the jury, unanimously find:

ARLANDIS SHY Not Guilty 51 Guilty

 

 

 

 

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COUNT NINETEEN: Attempted Murder of Darrio Roberts in Aid of
Racketeering

With respect to the charge of attempted murder of Darrio Roberts in aid of

racketeering on or about May 8, 2015, we, the jury, unanimously find:

 

ARLANDIS SHY Not Guilty \/ Guilty
COUNT TWENTY: Attempted Murder of ]esse Ritchie in Aid of
Racketeering

With respect to the Charge of attempted murder of Jesse Ritchie in aid of

racketeering on or about May 8, 2015, we, the jury, unanimously find:

ARLANDIS sHY Not eunty \/ Guilry _

COUNT TWEN'IY-FOUR: Use and Carry of a Firearm During and in
Relation to a Crime of Violence

With respect to the charge of use and carry of a firearm during and in relation
to a crime of violence, namely the May 8, 2015, attempted murder of Marquis Wicker,
Darrio Roberts, Orjesse Ritchie in aid of racketeering in Counts Eightecn, Nineteen,

or 'l`wenty, weJ the jury, unanimously lind:

ARLANDIS sHY Not ounty \/ ouary

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COUNT THIRTY-TWO: Possession of a Firearm in Furtherance of a
Crime of Violence

With respect to the charge Of possession of a firearm in furtherance of a crime

of violence in Count One (RlCO Conspiracy), we, the jury, unanimously lind:

ARLANDIS SHY Not Guilty Gujity \!
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Dated: <Bl?~’l l ill wm

 

in compliance with the Privacy Policy adopted by the Judieia|
Conference, the verdict form with the original signature has
been H|ed under seal

 

